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  The relief described hereinbelow is SO ORDERED.



  Signed July 27, 2022.

                                                  __________________________________
                                                         H. CHRISTOPHER MOTT
                                                  UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________

               IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           EL PASO DIVISION
  IN RE:                          §
  THE GATEWAY VENTURES, LLC,      § Case No. 21-30071-hcm
             Debtor.              §      (Chapter 11)
  WESTAR INVESTORS GROUP, LLC,              §
  SUHAIL BAWA, and                          §
  SALEEM MAKANI,                            §
               Plaintiffs,                  §
  v.                                        §   Adversary No. 21-03009-hcm
  THE GATEWAY VENTURES, LLC,                §
  PDG PRESTIGE, INC.,                       §
  MICHAEL DIXON, SURESH KUMAR,              §
  and BANKIM BHATT                          §
               Defendants.                  §

                 ORDER SETTING RESPONSE DEADLINE ON
        MOTION FOR PARTIAL DISMISSAL WITH PREJUDICE REGARDING
    WESTAR, BAWA, MAKANI, TGV, PDPG, AND DIXSON, WITH NOTICE THEREOF

        On July 27, 2022, a Motion for Partial Dismissal with Prejudice Regarding Westar,

  Bawa, Makani, TGV, and Dixson (“Motion”)(dkt# 108) was filed and served by The

  Gateway Ventures, PDG Prestige, Inc., and Michael Dixson (collectively “Gateway

  Defendants”). The Court finds the following Order should be entered.




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        IT IS THEREFORE ORDERED AND NOTICE IS HEREBY GIVEN AS FOLLOWS:

        1.     The deadline for Plaintiffs Westar Investors Group, LLC (“Westar”), Suhail

  Bawa (“Bawa”), and Saleem Makani (“Makani”) to file and serve a written Response to

  the Motion (dkt# 108) of the Gateway Defendants is August 19, 2022. If no timely

  Response is filed to the Motion, the Court may grant the Motion as being unopposed.

        2.     Plaintiff Westar is a limited liability company (LLC) and not an individual.

  Westar is not represented by counsel in this adversary proceeding. It is well established

  that a corporate entity, such as Westar, may appear in federal court (such as this Court)

  only through licensed counsel. See e.g., 28 U.S.C. §1654; Rowland v. California Men’s

  Colony, 506 U.S. 194, 202 (1993); Donovan v. Road Rangers Country Junction, Inc., 736

  F.2d 1004, 1005 (5th Cir. 1984); K.M.A., Inc. v. General Motors Acceptance Corp., 652

  F.2d 398, 399 (5th Cir. 1982); TGP Franchising LLC v. Schooley Media Ventures LLC,

  2016 WL 11082045 at *2 (W.D. Tex. Sept. 13, 2016)(a LLC may appear in federal court

  only through a licensed attorney). Accordingly, Westar is hereby warned that it must

  retain a substitute licensed counsel to represent Westar with respect to filing a Response

  to the Motion and in this adversary proceeding, or the Court may grant the Motion.

        3.     The deadline for the Gateway Defendants to file and serve any Reply to the

  Response of Plaintiffs is August 26, 2022.

        4.     The Clerk of the Court shall cause this Order to be served on all counsel of

  record in this adversary proceeding and to be mailed to (a) Westar Investors Group, LLC,

  750 York Ct., Lewisville, TX 75056; (b) Saleem Makani, 750 York Ct., Lewisville,TX

  75056; and (c) Suhail Bawa, 1313 Oneida Dr., Carrollton, Texas 75010.

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